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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


     INGRID BUQUER,                                 )
     BERLIN URTIZ,                                  )
     LOUISA ADAIR on their own behalf and           )
     on behalf of those similarly situated,         )
                                                    )
                                 Plaintiffs,        )
                                                    )
                        vs.                         )
                                                    )
     CITY OF INDIANAPOLIS,                          )      No. 1:11-cv-00708-SEB-MJD
     MARION COUNTY PROSECUTOR in                    )
     his official capacity,                         )
     CITY OF FRANKLIN,                              )
     JOHNSON COUNTY SHERIFF in his                  )
     official capacity,                             )
     JOHNSON COUNTY PROSECUTOR in                   )
     his official capacity,                         )
                                                    )
                                 Defendants.        )


              ORDER ON PENDING SUMMARY JUDGMENT MOTIONS

          Plaintiffs, Ingrid Buquer, Berlin Urtiz, and Louisa Adair, on their own behalf and

 on behalf of those similarly situated, challenge Section 18 (currently codified at Indiana

 Code § 34-28-8.2) and Section 20 (currently codified at Indiana Code § 35-33-

 1(1)(a)(11)-(13)) of the 2011 Senate Enrolled Act (“SEA”) 5901 as unconstitutional and


 1
  Section 20 amends Indiana Code ' 35-33-1-1(1), by adding new sections (a)(11)-(a)(13),
 authorizing state and local law enforcement officers to make a warrantless arrest of a person
 when the officer has a removal order issued for the person by an immigration court, a detainer or
 notice of action issued for the person by the United States Department of Homeland Security, or
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 preempted by federal law.2 On June 24, 2011, the Court entered a preliminary injunction

 in favor of Plaintiffs, enjoining Defendants, the City of Indianapolis (“the City”); the City

 of Franklin; the Marion County Prosecutor, in his official capacity; the Johnson County

 Sheriff, in his official capacity; and the Johnson County Prosecutor, in his official

 capacity, from enforcing Sections 18 and 20 until further order of the Court.

        On November 20, 2011, Plaintiffs filed a motion for summary judgment [Docket

 No. 122], requesting that the previously entered preliminary injunction be made

 permanent and that judgment be entered in their favor against all Defendants. On

 December 21, 2011, the City filed its response in opposition to Plaintiffs’ motion for

 summary judgment as well as a cross-motion for summary judgment [Docket No. 137],

 arguing that Plaintiffs have failed to identify an improper municipal custom, policy, or

 practice sufficient to support their claim against the City brought pursuant to 42 U.S.C. §


 has probable cause to believe the person has been indicted for or convicted of one or more
 aggravated felonies. Section 18 creates a new infraction under Indiana law for any person (other
 than a police officer) who knowingly or intentionally offers or accepts a consular identification
 card as a valid form of identification for any purpose.
 2
   In the State Defendants’ introduction to their response in opposition to Plaintiffs’ motion for
 summary judgment, they argue in a few sentences that the two preemption challenges are the
 only claims being raised on behalf of the class and that the Fourth Amendment and due process
 challenges are raised only by the named plaintiffs. Not only is their argument undeveloped, it is
 also unsupported by the record. The parties stipulated that the law or fact common to each class
 is whether the challenged provisions are “preempted by Federal law and [] unconstitutional.”
 Docket No. 84 (emphasis added). This clearly encompasses both the preemption claims and the
 Fourth Amendment and due process constitutional challenges. Moreover, the State Defendants
 admitted in their Answer, which was filed after the class stipulation, that the questions of law or
 fact common to Class A include: “(1) whether SEA 590 violates the Fourth Amendment of the
 U.S. Constitution; and (2) whether SEA 590 is preempted.” Docket No. 86. Similarly, in their
 Answer, the State Defendants admitted that Class B presents common questions, including: “(1)
 whether SEA 590 is preempted by the U.S. Constitution and federal law; and (2) whether SEA
 590 violates the Due Process Clause of the U.S. Constitution.” Id.
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 1983, but otherwise taking no position on the merits of the substantive claims as applied

 to the other Defendants. On January 4, 2012, Plaintiffs filed their response in opposition

 to the City’s cross-motion for summary judgment. The City filed its reply on January 23,

 2012, and Plaintiffs filed a surreply on January 30, 2012.

        After discovery, on April 9, 2012, the Office of the Attorney General, representing

 the Marion and Johnson County Prosecutors (“the State Defendants”), filed its response

 opposing Plaintiffs’ motion for summary judgment. In its response, the Office of the

 Attorney General requested not only that Plaintiffs’ motion be denied but also that

 summary judgment be issued for the state officials. The Attorney General did not file a

 separate motion for summary judgment, however. On April 20, 2012, Plaintiffs filed

 their reply in support of their motion for summary judgment, at which point both

 summary judgment motions were fully briefed.

        After careful review of the parties’ submissions, documentary evidence, and

 applicable legal authorities, we GRANT Plaintiffs’ Motion for Summary Judgment as to

 the State Defendants and hereby PERMANENTLY ENJOIN enforcement of Sections 18

 and 20 of SEA 590. Plaintiffs’ claim against the City of Indianapolis is DISMISSED

 WITHOUT PREJUDICE as unripe.

                                          Factual Background3

 I.     Federal Immigration Regulation

 3
   We discussed these facts in our prior entry granting Plaintiffs’ request for preliminary
 injunctive relief and they have been altered here only to the extent required to reflect any
 changes necessitated by the Court’s review of the parties’ summary judgment briefing.
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        In 1952, Congress enacted the Immigration and Nationality Act (AINA@), 66 Stat.

 163, as amended, 8 U.S.C. ' 1101 et seq. “That statute established a >comprehensive

 federal statutory scheme for regulation of immigration and naturalization= and set >the

 terms and conditions of admission to the country and the subsequent treatment of aliens

 lawfully in the country.” Chamber of Commerce of U.S. v. Whiting, 131 S.Ct. 1968,

 1973 (2011) (quoting De Canas v. Bica, 424 U.S. 351, 353, 359 (1976)). The INA

 empowers the Department of Homeland Security (ADHS@), the Department of Justice

 (ADOJ@), and the Department of State, among other federal agencies, to administer and

 enforce immigration law. Within DHS, various sub-agencies, including the United States

 Immigration and Customs Enforcement (AICE@), the United States Customs and Border

 Protection (ACBP@), and the United States Citizenship and Immigration Services

 (AUSCIS@), are tasked with immigration related responsibilities.

        In certain limited situations, federal law permits the delegation of authority to

 enforce civil immigration law to state and local law enforcement. For example, DHS is

 permitted to enter into written agreements (known as “287(g) agreements”) with states or

 any political subdivision of a state to allow appropriately trained and supervised officers

 or employees of the state or subdivision to perform certain immigration responsibilities.

 8 U.S.C. ' 1357(g)(1). It is undisputed that Indiana has no such agreement with the

 federal government.

        Defendants stress the fact that local Indiana law enforcement officials nevertheless

 often cooperate with federal agencies in the performance of the enforcement of
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 immigration-related laws, citing an October 2011 “mini-criminal alien surge”

 spearheaded by ICE in which 138 removable aliens were identified in three Indiana

 county jails over a four-day period. After identifying the criminal aliens, ICE removed

 six criminal offenders who were then transferred to the Marion County Jail. Exh. G.

 However, when such cooperative enforcement efforts occur, the local law enforcement

 officers are enlisted by and perform their duties at the behest of the federal officials who

 are authorized to perform these responsibilities.

 II.    Section 20

        In an apparent attempt to give law enforcement powers to local officials

 independent of federal supervision and/or authority such that they could act unilaterally,

 Section 20 of the Act was enacted to amend Indiana Code ' 35-33-1-1(1), by adding new

 sections (a)(11)-(a)(13), which provide as follows:

        (a) A law enforcement officer may arrest a person when the officer has:

        ***

        (11)   a removal order issued for the person by an immigration court;

        (12)   a detainer or notice of action for the person issued by the United States
               Department of Homeland Security; or

        (13)   probable cause to believe that the person has been indicted for or convicted
               of one (1) or more aggravated felonies (as defined in 8 U.S.C. 1101(a)(43)).

        An understanding of the material phrases incorporated in this statute is necessary;

 that discussion ensues:

        A.     Removal Order
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        The INA contains provisions which, inter alia, set forth the conditions under

 which a foreign national may be admitted to and remain in the United States, establish

 civil penalties and criminal sanctions for immigration violations, and grant DHS the

 discretion to place non-citizens into removal proceedings for various actions. See, e.g., 8

 U.S.C. '' 1181-1182, 1184, 1225, 1227-1229, 1306, 1324-25. Unlawful presence in the

 United States on its own is not a federal crime, although it can lead to the civil remedy of

 removal. 8 U.S.C. '' 1182(a)(6)(A)(I), 1227(a)(1)(B), (C). Removal proceedings take

 place within an administrative immigration court system within the DOJ. 8 C.F.R. '

 1003.0, et seq.

        If the Attorney General of the United States issues a warrant after removal

 proceedings have been initiated against an individual under federal law, that person may

 be arrested and detained pending a final removal decision. 8 U.S.C. ' 1226(a).

 However, removal does not occur in every case. After removal proceedings are initiated,

 the non-citizen may still be released during the pendency of removal proceedings, or even

 after the removal order has been issued by an immigration judge. Under 8 U.S.C. '

 1226(a), the individual may be released on bond or conditional parole, or, in some cases,

 be provided with work authorization. Id. ' 1226(a)(3). After a removal order is issued

 by an immigration judge, the non-citizen has the right to seek reconsideration as well as

 administrative and judicial review of that determination and may be released on bond

 until a final determination is made. 8 U.S.C. ' 1229a(c)(5). Even after issuance of a

 final removal order, the individual may, in some circumstances, move to reopen the
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 removal proceedings, which may stay his/her removal pending final disposition of the

 motion. Id. ' 1229a(c)(7). If the Attorney General fails to remove the non-citizen within

 ninety days after the removal order becomes final, the individual is released from

 detention, subject to supervision by the Attorney General. 8 U.S.C. ' 1231(a)(3).

 Finally, in lieu of deportation, the Attorney General may allow an alien to voluntarily

 depart the United States during a predetermined period of time. 8 U.S.C. ' 1229c.

        B.     Detainer

        If federal or local law enforcement informs ICE that an alien is in custody on non-

 immigration related charges, ICE may issue a detainer requesting that the law

 enforcement agency hold the individual for up to 48 hours (not including weekend days

 and holidays) beyond the time that the detainee would otherwise be released in order to

 allow ICE to assume custody, if it chooses to do so. 8 C.F.R. ' 287.7(d). A detainer is

 not a criminal warrant, but rather a voluntary request that the law enforcement agency

 “advise [DHS], prior to release of the alien, in order for [DHS] to arrange to assume

 custody.” Id. ' 287.7(a). The detainer automatically expires at the end of the 48-hour

 period. Id.

        C.     Notice of Action

        The standard form that federal immigration authorities utilize to inform

 individuals with pending petitions of any sort before the agency of the status of their

 cases is known as the Notice of Action Form, Form I-797. This form may be used to

 notify a person of a wide variety of administrative actions, including that a petition or
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 application with the agency has been received, that a decision has been made on a

 petition or application, and may even be used to notify an individual that he or she has

 been granted lawful status. Because an I-797 form is essentially simply a communication

 between the agency and the petitioner issued for any one of a wide range of

 administrative reasons, receipt of a notice of action is not a reliable indicator of an

 individual=s immigration status, or whether an individual has engaged in illegal activity,

 or the circumstances surrounding the individual=s presence in the United States.

        Notices of Action also include other forms issued by DHS, including Form 29,

 which is issued to importers by Customs and Border Protection, a subagency within

 DHS. Another Notice of Action is Form I-247, which is an immigration detainer

 described above.

        D.     Aggravated Felonies

        The INA provides that an alien convicted of an “aggravated felony” is subject to

 removal and may not receive asylum in the United States, become a citizen, lawfully

 reenter the United States, or have removal orders cancelled by the Attorney General. 8

 U.S.C. '' 1158(b)(2)(A)(ii), (b)(2)(B)(I); 1227 (a)(2)(A)(iii); 1229b(a)(3). However, it is

 often unclear whether a particular crime constitutes an aggravated felony under federal

 immigration law. “Aggravated felony” is defined under 8 U.S.C. ' 1101(a)(43), which

 encompasses 21 subsections, many of which themselves contain multiple crimes. Thus,

 determining whether a particular crime meets the definition is often a complex analytical


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 undertaking, one with which courts routinely grapple as have Executive Branch agencies

 and departments charged with enforcing this law.

 III.   Section 18

        Section 18 of the Act, to be codified as Indiana Code ' 34-28-8.2, provides:

        Chapter 8.2. Offenses Related to Consular Identification

        Sec. 1. As used in this chapter, Aconsular identification@ means an identification,
        other than a passport, issued by the government of a foreign state for the purpose
        of providing consular services in the United States to a national of the foreign
        state.

        Sec. 2. (a) This section does not apply to a law enforcement officer who is
        presented with a consular identification during the investigation of a crime.

               (b) Except as otherwise provided under federal law, a person who
        knowingly or intentionally offers, accepts, or records a consular identification as a
        valid form of identification for any purpose commits a Class C infraction.
        However, the person commits:

                      (1) a Class B infraction for a second offense; and
                      (2) a Class A infraction for a third or subsequent offense.

 Consular Identification Documents (“CIDs”):

        The Vienna Convention on Consular Relations (“VCCR”), to which the United

 States is a signatory, provides, inter alia, that a foreign consulate may issue travel

 documents, visas, or other appropriate documents to protect and assist its citizens in the

 foreign country. Vienna Convention on Consular Relations and Optional Protocol on

 Disputes, Art. 5(a), (d), (e), T.I.A.S. No. 6820, 21 U.S.T. 77, 1969 WL 97928 (Dec. 14,

 1969). Consular identification documents (“CIDs”) are photo identification cards issued

 by many embassies and consulates, including the United States, “to encourage their
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 citizens abroad to register with the consulates so that they can receive standard consular

 services, be notified if necessary, and be located upon inquiry by relatives and

 authorities.” Congressional Research Service, Consular Identification Cards: Domestic

 and Foreign Policy Implications, the Mexican Case, and Related Legislation at CRS-1

 (2005), available at http://www.fas.org/sgp/crs/misc/RL32094.pdf (last visited March 28,

 2013). It is an accommodation made by a foreign government with and for its own

 citizens who are temporarily residing in the United States (or elsewhere we assume).

        Under the VCCR, a foreign national arrested or detained in the United States must

 be advised of his or her right to request that appropriate consular officials be timely

 notified of the individual=s detention. Thus, individuals can use CIDs to alert federal,

 state, and local law enforcement authorities of the need to notify consular officials when

 assistance is required. Cardholders also commonly use CIDs for identification purposes,

 such as with financial institutions, law enforcement agencies, and state and local

 governments in the United States, as well as for other transactions that require photo

 identification, including cashing checks, renting housing, or enrolling children in school,

 especially when no other forms of photo identification are available to them for their use.

        The parties stipulate that limitations or restrictions on the use of these documents

 in connection with official state matters is a permissible exercise of state governmental

 authority. As for the non-state governmental uses, however, the parties disagree as to

 their lawfulness.

 IV.    Background on the Named Plaintiffs
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        Ingrid Buquer is a Mexican citizen who resides in Johnson County (Indiana) and

 also spends a significant amount of time in Marion County. She applied for a U-Visa as a

 victim of, or a witness to, a violent crime, and her application was still pending at the

 time the preliminary injunction in this case was issued. However, in April 2012, her

 application was granted and she has now received her employment authorization card.

 See 8 U.S.C. ' 1101(a)(15)(U). She received an I-797 Notice of Action to inform her of

 the pendency of her U-Visa application and another Notice of Action when her U-

 Nonimmigrant Status was approved.4

        Ms. Buquer has also received a CID from the Mexican Consulate in Indianapolis,

 which she uses in both Johnson and Marion Counties for many purposes, such as banking

 and shopping as well as in other situations in which identification is required. She has at

 times presented her CID when receiving services at the Mexican Consulate as proof of

 her Mexican citizenship. At the time the preliminary injunction was issued in this case,

 Ms. Buquer was unable to obtain an identification card or license from the State of

 Indiana. However, as of February 2012, she was able to obtain a passport from the

 Mexican Consulate, and thus, now has an alternative to her CID for identification

 purposes. See Buquer Dep. at 13-14; Buquer Dep. Exh. B. Plaintiffs contend that,

 because Ms. Buquer has received a Notice of Action, she will be subject to warrantless

 arrest pursuant to Section 20 when and if the law goes into effect. Additionally, when

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  In a footnote, the State Defendants note that these developments “may affect Buquer’s ability to
 continue as class representative and will be reviewed.” Defs.’ Resp. at 2. However, Defendants
 have not developed this argument, and thus, we do not address it further.
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 and if Section 18 goes into effect, she will not be able to use her CID for identification

 without being subject to a civil infraction.

           Louisa Adair is a citizen of Nigeria who currently resides in Marion County. Ms.

 Adair had a removal order issued against her in 1996, but she is currently released by ICE

 on an Order of Supervision, under which she reports to ICE every six months. She has

 been issued a valid work authorization document from DHS and she receives a I-797

 Notice of Action each time she applies to renew her employment authorization card. Ms.

 Adair has filed a Motion to Reopen and Terminate Removal Proceedings and has also

 made a formal request that the ICE Chief Counsel=s office exercise its prosecutorial

 discretion and join in her in that motion. If her request is granted, she will be eligible to

 apply for lawful permanent residency because her mother is a citizen of the United States

 and Ms. Adair possesses an approved and current I-130 visa petition. Ms. Adair also

 received an I-797 Notice of Action approving the I-130 petition that establishes her

 relationship to her citizen-mother. Plaintiffs contend that, because Ms. Adair has

 received both a removal order and various Notice of Action forms, she will be subject to

 warrantless arrest by Indiana law enforcement officers when and if Section 20 goes into

 effect.

           Berlin Urtiz is a citizen of Mexico who came to the United States when he was

 three years old and currently resides in Marion County. He has been a lawful permanent

 resident of the United States since 2001. In 2004, Mr. Urtiz was convicted of theft in

 Johnson County and sentenced to two years in prison, which was subsequently suspended
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 to probation. This crime was initially determined to be an aggravated felony under 8

 U.S.C. ' 1101(a)(43), and, in 2010, he was taken into custody by ICE and detained for

 four months pending removal. However, in September 2010, he was granted post-

 conviction relief. His theft conviction was vacated in November 2010 and he was re-

 sentenced for the misdemeanor offense of conversion, which does not qualify as an

 aggravated felony. Currently, there are no removal proceedings pending against Mr.

 Urtiz and he remains a lawful permanent resident, but Plaintiffs contend that, inasmuch

 as he has been convicted of an aggravated felony in the past, he will be subject to

 warrantless arrest by Indiana law enforcement officers on this basis when and if Section

 20 goes into effect.

 V.     The Certified Classes

        On July 14, 2011, the Court, pursuant to the parties’ stipulation, certified this

 cause as a class action, with two separate classes, pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(2). Class A is defined as follows:

        All persons in Marion and Johnson Counties, Indiana, or who will be in
        Marion and Johnson Counties, Indiana, who are or will be subject to
        warrantless arrest pursuant to Section 19 of SEA 590 based on a
        determination that: a removal order issued against them by an immigration
        court; have or will have, a detainer or notice of action issued against them
        by the United States Department of Homeland Security; or they have been,
        or will be, indicted for or convicted of one (1) or more aggravated felonies,
        as defined in 8 U.S.C. § 1101(a)(43).


 Docket No. 84. Class B is defined as follows:


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        All persons in Marion and Johnson Counties, Indiana, or who will be in
        Marion and Johnson Counties, Indiana, who possess, or will possess, a
        valid consular identification card and are using it, or will use it, for non-
        fraudulent identification purposes.

 Id.


                                        Legal Analysis

 I.     Standard of Review

        Summary judgment is appropriate when the record shows that there is “no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a

 matter of law.” Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

 Disputes concerning material facts are genuine where the evidence is such that a

 reasonable jury could return a verdict for the non-moving party. Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 248 (1986). In deciding whether genuine issues of material

 fact exist, the court construes all facts in a light most favorable to the non-moving party

 and draws all reasonable inferences in favor of the non-moving party. See id. at 255.

 However, neither the “mere existence of some alleged factual dispute between the

 parties,” id., 477 U.S. at 247, nor the existence of “some metaphysical doubt as to the

 material facts,” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

 (1986), will defeat a motion for summary judgment. Michas v. Health Cost Controls of

 Ill., Inc., 209 F.3d 687, 692 (7th Cir. 2000).

        The moving party “bears the initial responsibility of informing the district court of

 the basis for its motion, and identifying those portions of [the record] which it believes
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 demonstrate the absence of a genuine issue of material fact.” Celotex, 477 U.S. at 323.

 The party seeking summary judgment on a claim on which the non-moving party bears

 the burden of proof at trial may discharge its burden by showing an absence of evidence

 to support the non-moving party's case. Id. at 325.

        Summary judgment is not a substitute for a trial on the merits, nor is it a vehicle

 for resolving factual disputes. Waldridge v. Am. Hoechst Corp., 24 F.3d 918, 920 (7th

 Cir. 1994). Therefore, after drawing all reasonable inferences from the facts in favor of

 the non-movant, if genuine doubts remain and a reasonable fact-finder could find for the

 party opposing the motion, summary judgment is inappropriate. See Shields Enterprises,

 Inc. v. First Chicago Corp., 975 F.2d 1290, 1294 (7th Cir. 1992); Wolf v. City of

 Fitchburg, 870 F.2d 1327, 1330 (7th Cir. 1989). But if it is clear that a plaintiff will be

 unable to satisfy the legal requirements necessary to establish his or her case, summary

 judgment is not only appropriate, but mandated. See Celotex, 477 U.S. at 322; Ziliak v.

 AstraZeneca LP, 324 F.3d 518, 520 (7th Cir. 2003). Further, a failure to prove one

 essential element “necessarily renders all other facts immaterial.” Celotex, 477 U.S. at

 323.

        Courts often confront cross-motions for summary judgment because Rules 56(a)

 and (b) of the Federal Rules of Civil Procedure allow both plaintiffs and defendants to

 move for such relief. AIn such situations, courts must consider each party=s motion

 individually to determine if that party has satisfied the summary judgment standard.@

 Kohl v. Ass=n. of Trial Lawyers of Am., 183 F.R.D. 475 (D.Md.1998). Thus, in
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 determining whether genuine and material factual disputes exist in this case, the Court

 has considered the parties= respective memoranda and the exhibits attached thereto, and

 has construed all facts and drawn all reasonable inferences therefrom in the light most

 favorable to the respective non-movant. Matsushita Elec. Indus. Co. v. Zenith Radio

 Corp., 475 U.S. 574 (1986).

 II.    Plaintiffs’ Motion for Summary Judgment as to State Defendants

        The Court previously addressed all issues presented in this litigation in our June

 24, 2011 Order preliminarily enjoining enforcement of the challenged sections of SEA

 590. Now, after further careful review of the parties’ summary judgment briefing, a

 completely developed factual record, and the applicable legal authorities, our view of the

 appropriate final determination of these issues remains unchanged. Drawing

 substantially from our June 24, 2011 Order, significant portions of which are

 incorporated herein, we have modified and extended that preliminary analysis only to the

 extent necessitated by recent judicial decisions as addressed in the parties’ summary

 judgment and supplemental briefing.

        A. Section 20

           1. Preemption

        Pursuant to the Supremacy Clause, it is “[a] fundamental principle of the

 Constitution ... that Congress has the power to preempt state law.” Crosby v. Nat=l

 Foreign Trade Council, 530 U.S. 363, 372 (2000) (citations omitted). Preemption,

 express or implied, “is compelled whether Congress= command is explicitly stated in the
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 statute=s language or implicitly contained in its structure and purpose.” Jones v. Rath

 Packing Co., 430 U.S. 519, 525 (1977) (citations omitted). In cases in which Congress

 has not explicitly provided for preemption in a given statute, state law must nonetheless

 yield in two circumstances: First, “[w]hen Congress intends federal law to ‘occupy the

 field,’ state law in that area is preempted.” Crosby, 530 U.S. at 372. Second, even if

 Congress has not expressly occupied the field, state law is preempted where it conflicts

 with federal law. Conflicts arise when “compliance with both federal and state

 regulations is a physical impossibility or when state law stands as an obstacle to the

 accomplishment and execution of the full purposes and objectives of Congress.” Fid.

 Fed. Sav. & Loan Ass=n v. de la Cuesta, 458 U.S. 141, 153 (1982) (internal quotations

 and citations omitted). To determine whether “obstacle” preemption exists, a court must

 employ its “judgment, to be informed by examining the federal statute as a whole and

 identifying its purpose and intended effects.” Crosby, 530 U.S. at 373.

        Here, Section 20 of newly enacted Indiana statute authorizes the arrest of

 individuals in Indiana who are the subjects of a removal order, a detainer or notice of

 action, or a past indictment for or conviction of an aggravated felony. It is undisputed

 that none of these matters is itself a crime and, without more, does not provide the usual

 predicate for an arrest. As the Supreme Court recently made clear in Arizona v. United

 States, 132 S.Ct. 2492 (2012), “[t]he federal statutory structure instructs when it is

 appropriate to arrest an alien during the removal process.” Id. at 2505. Yet, as noted in

 our order granting preliminary injunctive relief, Section 20 authorizes state and local law
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 enforcement to arrest in circumstances far broader than those in which Congress has

 allowed state and local officers to arrest immigrants, (8 U.S.C. ' 1252c),5 and, in fact,

 authorizes a much broader warrantless arrest power than even federal officers are given

 under federal law. 8 U.S.C. ' 1357(a)(2).6 There is absolutely no indication that

 Congress intended state and local law enforcement officers to retain greater authority to

 effectuate a warrantless arrest than do trained federal immigration officials.

        In Arizona, the Supreme Court addressed, inter alia, a provision of the State of

 Arizona’s Support Our Law Enforcement and Safe Neighborhoods Act (commonly
 5
  Pursuant to 8 U.S.C. ' 1252c, state and local officers are given the authority, “to the extent
 permitted by relevant State and local law,” to arrest and detain an individual who:

        (1) is an alien illegally present in the United States; and

        (2) has previously been convicted of a felony in the United States and deported or
        left the United States after such conviction,

        but only after the State or local law enforcement officials obtain appropriate
        confirmation from the Immigration and Naturalization Service of the status of
        such individual and only for such period of time as may be required for the
        Service to take the individual into Federal custody for purposes of deporting or
        removing the alien from the United States.
 6
  Under 8 U.S.C. ' 1357(a)(2), federal officers are authorized to arrest without a warrant any
 alien:

        who in his presence or view is entering or attempting to enter the United States in
        violation of any law or regulation made in pursuance of law regulating the
        admission, exclusion, expulsion, or removal of aliens, or to arrest any alien in the
        United States, if he has reason to believe that the alien so arrested is in the United
        States in violation of any such law or regulation and is likely to escape before a
        warrant can be obtained for his arrest, but the alien arrested shall be taken without
        unnecessary delay for examination before an officer of the Service having
        authority to examine aliens as to their right to enter or remain in the United States.

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 referred to as S.B. 1070), which provided that state and local law enforcement officers

 “without a warrant, may arrest a person if the officer has probable cause to believe …

 [the person] has committed any public offense that makes [him] removable from the

 United States.” Id. at 2505 (quoting ARIZ. REV. STAT. ANN. § 13-3883(A)(5))

 (alterations in original). The Court declared that provision to be preempted by federal

 law, observing that it would provide state officers greater arrest power in the immigration

 realm than Congress provided to federal immigration officers. The Court emphasized

 that Arizona’s authority under the challenged provision “could be exercised without any

 input from the Federal Government about whether an arrest is warranted in a particular

 case,” which “would allow the State to achieve its own immigration policy.” Id. at 2506.

        Similarly, in the case before us there is no indication that state or local law

 enforcement officers would be required to consult federal immigration officials before

 effecting an arrest pursuant to Section 20. Given the broad warrantless arrest powers

 provided in Section 20, it is reasonable to predict that many arrests authorized under that

 provision would directly contravene the federal government’s immigration enforcement

 scheme. For example, Section 20 authorizes an arrest of any individual who is in receipt

 of a removal order. However, having received a prior removal order is not proof that the

 person is subject to detention by federal authorities and, in many cases, with the

 permission of federal authorities, individuals with removal orders can remain free from

 custody and obtain work authorization. In such circumstances where the federal

 government has exercised its discretion to release an individual who has had a removal
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 order issued, the subsequent arrest of that person by Indiana law enforcement officers

 would directly conflict with the federal decision, obviously and seriously interfering with

 the federal government=s authority in the field of immigration enforcement.

        The conflict is even more apparent with regard to Section 20’s authorization of the

 arrest of individuals who have been issued a notice of action. Many such notices of

 action an alien might receive are inherently non-criminal. Thus, receipt of such a form

 often merely acknowledges that the individual’s information dealing with immigration

 matters has been received by INS or that an immigration decision is pending or has been

 made. Such communications clearly could be as legally innocuous as informing the

 recipient that a visa application has been received and is being processed or even that he

 or she has attained lawful alien status. Even if it were presumed that state and local law

 enforcement officers would utilize their arrest powers prudently, for example, only in

 cases where the notice of action received by the alien is “substantive” or “non-benign,”

 no such limitation appears in Section 20 nor are those terms defined, leaving to anyone=s

 guess what would constitute a “non-benign” or “substantive” notice of action or how any

 Indiana law enforcement officer could be expected to know the basis for such a

 distinction.7 Clearly, it is not the intent or purpose of federal immigration policy to arrest

 7
   The State Defendants contend that the use of the phrase “a detainer or notice of action”
 (emphasis added) in Section 20 makes clear that the General Assembly intended to give law
 enforcement officers the ability to arrest only those individuals who had a Form I-247
 “Immigration Detainer – Notice of Action” as opposed to merely having any “run-of-the-mill”
 Notice of Action. Defs.’ Resp. at 17. The State Defendants further argue that, if the statute was
 meant to refer to all notices of action and not simply a Form I-247 detainer, it would have instead
 provided that an arrest could be made if the individual had “a detainer or a notice of action.”
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 individuals merely because they have at some point had contact with a federal

 administrative agency concerning an immigration matter and have received notice to that

 effect. Authorizing an arrest for nothing more than the receipt of an administrative

 notification plainly interferes with the federal government=s purpose of keeping those

 involved in immigration matters apprised of the status of their cases, but not arresting

 them.

         Federal law specifies that the immigration penalties associated with aggravated

 felonies arise only if the individual has been convicted of the offense. 8 U.S.C. '

 1101(a)(43). Yet Section 20 allows state and local law enforcement to arrest those

 concerning whom they have probable cause to believe have merely been indicted for such

 an offense. Obviously, whether a crime constitutes an “aggravated felony” can often

 involve a complex and confusing legal and factual analyses, but there is no guidance in

 Section 20 as to how a state or local officer should make that determination. Thus, the

 power to arrest on that basis threatens serious abuses. Regardless, authorizing the arrest

 of individuals who have only been indicted but not convicted of an aggravated felony

 runs counter to the federal intent to limit such penalties. Even in cases where a

 conviction has occurred, if the federal government determines that no penalty will be



 (emphasis added). However, as Plaintiffs argue, it is both permissible and common for a single
 article to be used to modify multiple nouns that are listed in the disjunctive, and, in fact, another
 sub-section of the same statute at issue here permits an individual’s arrest when an officer has
 probable cause to believe the person has committed “a battery resulting in bodily injury under IC
 35-42-2-1 or domestic battery under IC 35-42-2-1.” IND. CODE § 35-33-1-1(a)(5) (emphasis
 added). This is but one of a myriad of examples contained in the Indiana Code.
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 imposed, a subsequent arrest by state authorities pursuant to Section 20 directly conflicts

 with the federal determination.

        It is true that there are certain instances in which state and local law enforcement

 officers may be authorized to assist the federal government in immigration matters. But

 such circumstances are limited and clearly defined under federal law. For example, as

 discussed above, DHS may enter into written agreements with states or any political

 subdivision of a state to allow appropriately trained and supervised officers or employees

 of the state or subdivision to perform certain immigration responsibilities subject to the

 Attorney General’s discretion and supervision. See 8 U.S.C. ' 1357(g)(1), (g)(3); see

 also § 1103(a)(10) (authority may be extended in the event of an “imminent mass influx

 of aliens off the coast of the United States”); § 1252c (authority to arrest in specific

 circumstances after consultation with the federal government). However, it is undisputed

 that Indiana has entered into no such agreement with DHS. Nor is the authority granted

 by Section 20 justified under 8 U.S.C. § 1357(g)(10)(B), which allows state officers to

 “cooperate with the Attorney General in the identification, apprehension, detention, or

 removal of aliens not lawfully present in the United States.” As the Supreme Court

 recognized in Arizona, “[t]here may be some ambiguity as to what constitutes

 cooperation under federal law; but no coherent understanding of the term would

 incorporate the unilateral decision of state officers to arrest an alien for being removable

 absent any request, approval, or other instruction from the Federal Government.” 132

 S.Ct. at 2507. Similarly, here, the unilateral discretion granted state and local law
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 enforcement officers to arrest under Section 20 goes far beyond the types of cooperation

 contemplated by § 1357(d). See id. (citing Dept. of Homeland Security, Guidance on

 State and Local Governments’ Assistance in Immigration Enforcement and Related

 Matters 13-14 (2011), online at http://www.dhs.gov/files/resources/immigration.shtm

 (last visited March 28, 2013) (providing examples of what constitutes “cooperation”

 under federal law, including situations in which states participate in a joint task force

 with federal officers, provide operational support in executing a warrant, or permit

 federal immigration officials to gain access to detainees held in state facilities)).

        Federal immigration law consists of a veritable tapestry of individual regulatory

 and policy threads woven together to create a balanced whole. In order to maintain that

 balance throughout the country, federal law vests discretion at the federal level regarding

 whether and which persons without full, lawful alien status should be arrested. Section

 20 impermissibly alters that balance by authorizing the arrest for immigration matters of

 individuals only within the boundaries of the State of Indiana whom, in many cases, the

 federal government does not seek or intend to be detained. As such, Section 20

 significantly disrupts and interferes with federal discretion relating to immigration

 enforcement and the appropriate, preferred methods for carrying out those enforcement

 responsibilities. Accordingly, we hold that Section 20 of SEA 590 is preempted by

 federal law.

            2. Fourth Amendment and Due Process


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        Even if Section 20 were not preempted by federal law, because it authorizes state

 and local law enforcement officers to effect warrantless arrests for matters that are not

 crimes, it runs afoul of the Fourth Amendment, and thus, is unconstitutional on those

 grounds. “[A]n arrest is reasonable under the Fourth Amendment so long as there is

 probable cause to believe that some criminal offense has been or is being committed.”

 Fox v. Hayes, 600 F.3d 819, 837 (7th Cir. 2010) (emphasis in original) (citations

 omitted). When a federal court is tasked with evaluating a facial challenge to a state law,

 the court must “consider any limited construction that a state court or enforcement

 agency has proffered.” Ward v. Rock Against Racism, 491 U.S. 781, 795-96 (1989)

 (quoting Hoffman Estates v. The Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494 n.5

 (1982)). However, “a federal court may not slice and dice a state law to ‘save’ it; we

 must apply the Constitution to the law the state enacted and not attribute to the state a law

 we could have written to avoid the problem.” K-S Pharmacies, Inc. v. Am. Home

 Products, Corp., 962 F.2d 728, 730 (7th Cir. 1992) (citations omitted).


        Defendants maintain that the Court is obligated to presume that the arrest

 provisions set forth in Section 20 will be applied constitutionally, that is, in accordance

 with the Fourth Amendment and due process requirements, and thus, that these expanded

 arrest powers would be utilized only in conjunction with an otherwise lawful arrest. We

 are no more persuaded by Defendants’ argument now than we were at the preliminary




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 injunction stage; therefore, we incorporate much of our prior order into our discussion

 here.


         We begin by noting that Defendants’ interpretation of Section 20 completely

 ignores the plain language of that statute. Section 20 expressly provides that state and

 local enforcement officers “may arrest” individuals for conduct that all parties stipulate

 and agree is not criminal. The statute contains no reference to Fourth Amendment

 protections nor does it include a requirement that the arrest powers granted to law

 enforcement officers under Section 20 be used only in circumstances in which the officer

 has a separate, lawful reason for the arrest. Moreover, accepting Defendants’ proposed

 construction would, in effect, read the statute out of existence. Apart from the exclusion

 of Fourth Amendment requirements regarding probable cause to arrest, Section 20

 bestows no authority on law enforcement officers beyond the power to arrest for the non-

 criminal conduct enumerated therein, creating a deafening silence as to what happens to

 the arrestee post his or her arrest. There is no mention of any requirement that the

 arrested person be brought forthwith before a judge for consideration of detention or

 release. There is, in fact, a complete void within the newly enacted statute regarding all

 other due process protections. Our acceptance of Defendants’ theory would require the

 Court to construe the state statute under review contrary to its plain language, which very

 plainly authorizes law enforcement officials to arrest an individual without regard to

 whether that individual was already subject to a lawful arrest. Such an interpretation,


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 apart from being based on nothing within the text of the statute itself, would render

 Section 20 completely meaningless. We cannot and shall not interpret a statute in such

 an unprincipled fashion. United States v. Berkos, 543 F.3d 392, 396 (7th Cir. 2008).


        Defendants emphasize the fact that Section 20 does not mandate arrests; rather it

 merely grants discretionary authority to law enforcement officers to arrest. However,

 Defendants fail to explain the significance of this difference and we see none, since it is

 clear that “[i]t is the high office of the Fourth Amendment to constrain law enforcement

 discretion.” Hedgepeth ex rel. Hedghpeth v. Washington Metro. Area Transit Auth., 386

 F.3d 1148, 1159 (D.C. Cir. 2004). Nor are we persuaded by Defendants argument that

 the law in fact requires a “higher standard than probable cause” because it requires the

 officers to actually “have” certain documents in their possession before exercising their

 discretion under Section 20, to wit, a removal order from an immigration court, a detainer

 or notice of action from DHS, or probable cause to believe that an individual was indicted

 or convicted of an aggravated felony. Defs.’ Resp. at 14. However, even assuming that

 “have” is interpreted to require physical possession, being in possession of any of the

 documents enumerated in Section 20 does not provide lawful cause for arrest under the

 Fourth Amendment.


        In short, if the Court were to accept Defendants= proposed construction of the

 arrest powers provision, it would require a radical rewriting of Section 20, which the

 Court is not empowered to do. Even if such broad interpretive powers were permissible,

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 and we repeat, they are not, the construction Defendants have proposed would be entirely

 untenable because, as we have noted above, it would render the challenged statute

 meaningless. Accordingly, we find that Section 20 is susceptible to only one

 interpretation, to wit, that it authorizes the warrantless arrest of persons for matters and

 conduct that are not crimes. Because such power contravenes the Fourth Amendment,

 Section 20 is unconstitutional.8


        B. Section 18

            1. Preemption


        Plaintiffs argue that Section 18 is an impermissible state regulation of immigration

 because it interferes with the rights bestowed on foreign nations by treaty as well as with

 the federal government=s responsibilities for the conduct of foreign relations, and is thus

 preempted. Defendants rejoin that the statute does not directly conflict with any treaty

 nor does it impede the federal government=s ability to manage foreign affairs, because

 Section 18 is merely a regulation of acceptable forms of identification to be used within


 8
   Defendants have apparently abandoned their argument set forth at the preliminary injunction
 phase that it is as yet undetermined whether the Fourth Amendment even applies to
 undocumented aliens. Even if they have not abandoned that argument, we read the caselaw to
 say otherwise. Following the Supreme Court=s decision in Immigration and Naturalization
 Service v. Lopez-Menoza, 468 U.S. 1032 (1984), in which the Court accepted the principle that
 the Fourth Amendment does apply to undocumented individuals, courts, including the Seventh
 Circuit, routinely apply the Fourth Amendment in cases involving undocumented aliens. See,
 e.g., United States v. Quintana, 623 F.3d 1237, 1239 (8th Cir. 2010); United States v. Villegas,
 495 F.3d 761 (7th Cir. 2007).

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 the State of Indiana and does not single out or conflict with any identifiable immigration

 policy or regulation or make any determination as to who is allowed to be admitted into

 the country or who is allowed to remain once admitted.


        Under the Vienna Convention of Consular Relations (“VCCR”), to which the

 United States is a signatory, foreign consulates are granted permission to issue travel

 documents, such as passports and visas, as well as other “appropriate documents” to its

 citizens and to protect and assist its citizens in the foreign country. See Vienna

 Convention on Consular Relations and Optimal Protocol on Disputes, Dec. 14, 1069, art.

 V(a), (d)-(e), 21 U.S.T. 77. Although CIDs are not specifically mentioned in the text of

 the VCCR, it is recognized that, pursuant to the powers set forth therein, CIDs are issued

 by many “embassies and consulates of foreign states, including the United States, to

 encourage their citizens abroad to register with the consulates so that they can receive

 standard consular services, be notified if necessary, and be located upon inquiry by

 relatives and authorities.” Congressional Research Service, Consular Identification

 Cards: Domestic and Foreign Policy Implications, the Mexican Case, and Related

 Legislation, at CRS-1 (2005), available at http://www.fas.org/sgp/crs/misc/RL32094.pdf

 (last visited March 28, 2013); see also Risk v. Kingdom of Norway, 707 F. Supp. 1159,

 1165 (N.D. Cal. 1989), aff’d sub nom. Risk v. Halvorsen, 936 F.2d 393 (9th Cir. 1991)

 (“The issuance of identification documents is a function recognized as being among the

 powers exercised by consular officials by the [VCCR].”). Moreover, in congressional


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 testimony, a U.S. State Department official testified that the State Department views

 CIDs as a tool for law enforcement officers to help facilitate observance of the United

 States’ treaty obligations. See Testimony of Acting Deputy Assistant Secretary of State

 Roberta Jackson for the Bureau of Western Hemisphere Affairs, Hearing on the Federal

 Government’s Response to Consular Identification Cards Before the House

 Subcommittee on Immigration, Border Security, and Claims, House Committee on the

 Judiciary, 108th Cong. 44-45, at 142-43 (Jun. 26, 2003) (hereinafter “CID Hearing”).


        We agree with Defendants that Section 18 does not directly conflict with the

 VCCR because the statute neither prevents consulates from issuing CIDs nor, arguably,

 from accepting a CID at the consulate itself. However, as we ruled in our prior order

 granting preliminary relief to Plaintiffs, while Section 18 does not prohibit a consulate

 from issuing CIDs, it in essence makes their issuance meaningless as it prohibits almost

 every use for which the documents are ordinarily issued, including for identification

 purposes in private commercial and banking transactions conducted between private

 parties. In light of this extensive limitation imposed by Section 18, we are unable to

 dismiss the statute’s impact as inconsequential. In fact, it appears that the statute directly

 interferes with the rights bestowed on foreign nations by treaty by virtually nullifying the

 issuance of one of the tools used by foreign nations to exercise those rights.


        It is also clear that such a sweeping prohibition has the potential to directly

 interfere with executive discretion in the field of foreign affairs. The executive branch=s

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 authority over matters of foreign affairs is an implied constitutional power. Youngstown

 Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 610 (1952). “The exercise of the federal

 executive authority means that state law must give way where ... there is evidence of

 clear conflict between the policies adopted by the two.” American Ins. Ass=n v.

 Garamendi, 539 U.S. 396, 421 (2003). The State Department has in the past cautioned

 the federal government against taking action against CIDs that might cause other

 countries to similarly restrict the use and acceptance of such documentation for American

 citizens abroad.9 See CID Hearing at 114 (Testimony of Acting Deputy Assistant

 Secretary of State Roberta Jackson).


        Defendants cite to cases in which courts have found state laws not preempted

 which deal with matters of traditional state regulation and which have only an indirect

 impact on foreign policy. See Dunbar v. Seger-Thomschitz, 615 F.3d 574 (5th Cir. 2010)

 cert. denied, 131 S.Ct. 1511 (2011) (holding that Louisiana prescription period applying

 generally to any challenge of ownership to movable property was not preempted even

 though the object of the litigation was Nazi-confiscated artwork); Museum of Fine Arts,

 Boston v. Seger-Thomschitz, 623 F.3d 1 (1st Cir. 2010) cert. denied, 131 S.Ct. 1612

 (2011) reh=g denied, 10-901 2011 WL 1529816 (U.S. Apr. 25. 2011) (holding that statute


 9
   The risk that a state law could result in similar retaliatory actions by foreign governments is no
 less a concern. The potential impact that Section 18 has on the United States= relationship and
 dealings with foreign countries is reflected in the concerns raised by Mexico, Brazil, Guatemala,
 El Slavador, and Colombia in their amicus curiae briefs filed in this action.

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 of limitations on conversion was statute of general regulation that does not conflict with

 federal policy). Defendants maintain that, similar to the statutes of general application

 directed toward matters of state concern, Section 18 “does not single out any identifiable

 immigration policy or regulation, but rather outlines acceptable forms of identification

 within the State of Indiana.” Defs.’ Resp. at 26.


        The defect in Defendants’ argument here is that Section 18 is anything but a

 neutral law of general application that just happens to have a remote and indirect effect

 on foreign relations. Rather, it targets only one form of identification B CIDs issued by

 foreign governments. Moreover, Section 18 regulates CIDs in the broadest possible

 terms, restricting not just what state agencies may accept as valid identification but

 prohibiting this form of identification in purely private transactions. “A person,” the

 statute says, and that is all it says. These sweeping regulations, targeted solely at foreign

 government-issued identification that consulates are entitled to issue, and which restrict

 the manner in which foreign citizens may travel, live, and trade in the United States, have

 a direct effect on our nation’s interactions with foreign nations. Such interactions cannot

 be dictated or restricted by individual states. For these reasons, we hold that Section 18 is

 preempted by federal law.


           2. Due Process




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        Plaintiffs also challenge Section 18 on substantive due process grounds,10 arguing

 that the statute is arbitrary and bears no rational relation to legitimate government

 interests. Defendants rejoin that the statute is rationally related to the legitimate

 government purpose of ensuring the reliability of identification of individuals within the

 state and preventing fraud against law enforcement, merchants, and consumers.


        Under traditional due process analysis, state action must be sustained as long as it

 bears a rational relation to a legitimate governmental interest. R.A.V. v. City of St. Paul,

 Minn., 505 U.S. 377, 406 (1992). Even under this highly deferential standard of review,

 however, we find that Section 18 is violative of due process principles. Although we do

 not dispute that the stated purpose of ensuring the reliability of identification of

 individuals within the state and preventing fraud against the state is a legitimate

 governmental purpose, the breadth of the limitation imposed by Section 18, to wit,

 preventing any person (other than a police officer) from either knowingly presenting or

 accepting a CID as a valid form of identification for any purpose far exceeds its stated

 purpose and therefore is not rational.




 10
    Defendants argue that Plaintiffs’ due process claim must fail because they have no liberty or
 property interest in CIDs. However, while a showing of a liberty or property interest is required
 to succeed on a procedural due process claim, (see, e.g., Board of Regents of State Colleges v.
 Roth, 408 U.S. 564, 569 (1972)), there is no such requirement to establish a substantive due
 process violation, which is the claim at issue here. See, e.g., Washington v. Glucksberg, 521 U.S.
 702, 728 (1997) (holding that a statute not “rationally related to legitimate government interests”
 violates substantive due process). Accordingly, we need not address Defendants’ procedural due
 process argument further.
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        While all parties agree that the State of Indiana has the authority to prohibit the

 use of various forms of identification, including CIDs, at state agencies, such as the

 Bureau of Motor Vehicles, Section 18 goes far beyond such regulation to prohibit their

 use or acceptance in any transaction requiring valid identification, even those between

 purely private parties who would otherwise be willing to accept CIDs in the context of

 wholly private transactions. The parties here disagree as to the reliability of CIDs and

 have submitted competing evidence on that question. However, even assuming that the

 level of reliability of CIDs varies from country to country, we are still persuaded that

 CIDs are, at the very least, as reliable as a number of other forms of documentation that

 individuals are permitted to use for certain identification purposes in Indiana, such as

 leases, utility bills, and student ID cards. Accordingly, the General Assembly’s decision

 to single out for punishment individuals using CIDs for identification purposes from all

 other individuals, many of whom are using other, arguably more unreliable forms of

 identification, simply does not rationally further the goal of the prevention of fraud or

 otherwise ensure the reliability of identification.


        Additionally, Section 18 forces foreign nationals who are stopped by law

 enforcement and who may not have actual or practical access to identification other than

 a CID to choose either to subject themselves to a possible infraction or to decline to

 comply with a police officer’s request for identification. The statute immunizes the

 police officers who ask for identification in the course of a criminal investigation, but the


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 person who shows the officer a CID and thus “knowingly or intentionally offers … a

 consular identification as a valid form of identification” commits an infraction under

 Section 18. The record establishes that one primary purpose of the CID is to assist and

 identify foreign nationals who are stopped by law enforcement, and yet, if the CID is

 used for one of its key purposes, the individual who uses it is subject to an infraction

 under Section 18, but the police officer who asks for the identification is not.


        These examples persuade us that, regrettably in our view, the distinction made in

 Section 18 to single out the CID for regulation apart from other forms of identification

 most accurately appears to have been designed simply to target foreign nationals. As the

 Supreme Court has recognized in the equal protection context, “if the constitutional

 conception of ‘equal protection of the laws’ means anything, it must at the very least

 mean that a bare congressional desire to harm a politically unpopular group cannot

 constitute a legitimate governmental interest.” United States Dep’t of Agriculture v.

 Moreno, 413 U.S. 528, 534 (1973). For these reasons, we hold that Section 18 is not

 rationally related to the stated government interest, and thus, violates substantive due

 process.


 III.   Plaintiffs’ and the City’s Cross-Motions for Summary Judgment

        The City argues that, regardless of the merits of the substantive claims against the

 other Defendants, it is entitled to summary judgment in its favor because Plaintiffs have

 failed to establish that there is a municipal custom, policy, or practice at issue in this case

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 that violates federal law, and thus, under Monell v. Department of Social Services, 436

 U.S. 658 (1978), the City cannot be held liable under § 1983.11 In analyzing a civil rights

 claim against a municipality, the first inquiry “under § 1983 is the question whether there

 is a direct causal link between a municipal policy or custom and the alleged constitutional

 deprivation.” City of Canton v. Harris, 489 U.S. 378, 385 (1989); accord Monell, 436

 U.S. at 694 (“[I]t is when execution of a government’s policy or custom, whether made

 by its lawmakers or by those whose edicts or acts may fairly be said to represent official

 policy, inflicts the injury that the government as an entity is responsible under § 1983.”).

 In other words, the policy must be the “moving force” behind the violation. Monell, 436

 U.S. at 694. “[M]unicipal liability under § 1983 attaches where – and only where – a

 deliberate choice to follow a course of action is made from among various alternatives by

 [the municipality] with respect to the subject matter in question.” Pembaur v. City of

 Cincinnati, 475 U.S. 469, 484 (1986) (citation omitted).

        The City argues that Plaintiffs have failed to present evidence that the City has

 made a conscious and deliberate decision to make arrests and issue citations under the

 challenged portions of the state statute at issue here, and thus, cannot satisfy the standard

 for municipal liability set forth in Monell and its progeny. In other words, the City

 contends that, because Sections 18 and 20 were preliminary enjoined prior to their

 11
    Although the City’s argument applies equally to the other municipal defendants in this
 litigation, as Plaintiffs point out, it is not available to the prosecutor defendants represented by
 the Office of the Attorney General because prosecutors are state officials under Indiana law.
 See, e.g., Hendricks v. New Albany Police Dept., No. 4:08-cv-180, 2010 WL 4025633, at *3
 (S.D. Ind. Oct. 13, 2010).
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 effective date, it never had any opportunity to decide if and how and when it would

 enforce those provisions such that it could be said to have established a Monell policy.

 The City further argues that, even if Plaintiffs could establish that the City has a policy to

 enforce state law as a general matter, the mere enforcement of state law is insufficient to

 subject the City to liability under § 1983. Plaintiffs rejoin that the City can be held liable

 under § 1983 based on the fact that enforcement of the sections of the statute at issue is

 within the City’s discretion and the City has not affirmatively stated that it would decline

 to enforce Sections 18 and 20 of SEA 590, should those provisions ever go into effect.

        We note that the caselaw, both in this circuit and in our sister circuits, is not

 entirely straightforward on the issue of whether and under what circumstances a

 municipality can be held liable under § 1983 for enforcing a state law,12 but it is

 unnecessary for us to delve too deeply into that inquiry because, given the Court’s final

 decision here to enjoin the challenged portions of SEA 590 set forth above, we hold that

 Plaintiffs’ claim against the City based on its potential enforcement of Sections 18 and 20

 is no longer ripe.

        In their briefing in opposition to the City’s motion for summary judgment,

 Plaintiffs argue that the question of ripeness was already addressed in our prior entry

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    In N.N. ex rel. S.S. v. Madison Metropolitan School District, 670 F. Supp. 2d 927 (W.D. Wis.
 2009), for example, the court, in addressing the relevant caselaw both in our circuit and our sister
 circuits, observed that “circuit courts have come to varying conclusions on the questions whether
 and to what extent municipalities may be held liable under § 1983 for following state laws” and
 that “the Supreme Court has yet to discuss [Monell’s] application in the context [of] a
 municipality’s enforcement of a state law. In this vacuum, lower courts have come to their own
 unique conclusions.” Id. at 933-34.
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 preliminarily enjoining the challenged sections of SEA 590 and thus need not be revisited

 now. However, “[l]ike mootness, but unlike standing, ripeness is reevaluated throughout

 the course of litigation.” Milwaukee Police Ass’n v. Board of Fire & Police Comm’rs of

 the City of Milwaukee, 708 F.3d 921, 933 (7th Cir. 2013) (citing Anderson v. Green, 513

 U.S. 557, 559 (1995) (per curiam) (when evaluating ripeness “it is the situation now

 rather than the situation at the time of the decision under review that must govern”)

 (internal brackets and quotations omitted)). “Ripeness concerns may arise when a case

 involves uncertain or contingent events that may not occur as anticipated, or not occur at

 all.” Wisconsin Right to Life State Political Action Comm. v. Barland, 664 F.3d 139, 148

 (7th Cir. 2011) (citations omitted). In determining whether a claim is ripe for

 adjudication, courts consider “‘the fitness of the issues for judicial decision’ and ‘the

 hardship to the parties of withholding court consideration.’” Pac. Gas & Elec. Co. v.

 State Energy Res. Conservation & Dev. Comm’n, 461 U.S.190, 201 (1983) (quoting

 Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967)).

        It is clear that Plaintiffs’ claim is based, not on any direct action taken by the City,

 but on the assumption that if and when the challenged sections of SEA 590 became

 effective the City would enforce those provisions. At the time we originally addressed

 the question of ripeness, SEA 590 was about to go into effect and the City had not

 affirmatively stated that it intended to refrain from enforcing Sections 18 and 20 if they

 became effective. Accordingly, we found that there was a credible threat of enforcement

 sufficient to meet the second prong of the ripeness inquiry, to wit, that Plaintiffs would
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 suffer hardship if the court withheld consideration of their claim. However, the posture

 of the case has changed and with the Court’s final determination on the merits, including

 a permanent injunction prohibiting enforcement of the challenged portions of SEA 590.

 Given our ruling, and the Supreme Court’s directive in Los Angeles County, Cal. v.

 Humphries, 131 S.Ct. 447 (2010), in which the High Court made clear that civil rights

 plaintiffs must meet the standard set forth in Monell in order to successfully sue a

 municipality under § 1983 irrespective of whether the remedy sought is money damages

 or prospective relief, we conclude that Plaintiffs’ claim against the City is contingent on

 the outcome of a variety of intervening acts and scenarios not fully settled at this time.

 These uncertainties render the claims against the City premature, and no longer ripe for

 adjudication.

        In short, even assuming Plaintiffs were able to show that the challenged provisions

 of SEA 590 provide the City sufficient discretion such that any decision it might make to

 enforce those provisions could be said to be a Monell policy and not merely an action

 taken under the command of state law,13 the City’s opportunity to make such a decisioin


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    It is clear under Seventh Circuit law that a municipality “cannot be held liable under section
 1983 for acts that it did under the command of state or federal law” because “[w]hen the
 municipality is acting under compulsion of state or federal law, it is the policy contained in that
 state or federal law, rather than anything devised or adopted by the municipality, that is
 responsible for the injury.” Bethesda Lutheran Homes & Servs., Inc. v. Leean, 154 F.3d 716,
 718 (7th Cir. 1998) (emphasis added). Thus, “the question under Bethesda Lutheran is whether
 the municipality enforcing a state law has enough discretion in implementation to make the
 municipality ‘responsible’ for any constitutional violation that occured.” N.N. ex rel. S.S. v.
 Madison Metro Sch. Dist., 670 F. Supp. 2d 927, 934 (W.D. Wis. 2009). Plaintiffs argue that the
 City clearly has discretion under Sections 18 and 20 of SEA 590 because, while these sections
 give local law enforcement officers the power to arrest or issue citations in certain
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 will be entirely foreclosed unless and until these statutes are upheld as constitutional and

 not preempted. Accordingly, we find that Plaintiffs’ claim against the City is not ripe for

 adjudication at this time because they face no hardship, immediate injury, or prejudice

 from the Court’s withholding of a ruling on that claim.

 IV.    Conclusion

        As explicated above, Plaintiffs’ Motion for Summary Judgment is GRANTED

 against the State Defendants and the State Defendants are hereby PERMANENTLY

 ENJOINED from enforcing the following sections of Senate Enrolled Act 590: Section

 18, to be codified as Indiana Code ' 34-28-8.2, and Section 20, which amends Indiana

 Code ' 35-33-1-1(1), by adding new sections (a)(11)-(a)(13). The State Defendants are

 hereby further ordered to inform forthwith all the affected Indiana state governmental

 entities of this injunction. Because we hold Plaintiffs’ claims against the City based on

 its potential enforcement of Sections 18 and 20 to be unripe for full adjudication and




 circumstances, they do not mandate that the City take such action. However, while this specific
 issue has not been addressed in the Seventh Circuit, there is support in case law from outside our
 circuit for the proposition that the type of discretion required is not simply the discretion to
 choose to enforce or not enforce the state statute in an individual situation, but rather that the
 municipality must have the discretion to choose whether it will enforce the statute or portions of
 the statute at all. See Vives v. City of New York, 524 F.3d 346, 354 (2d Cir. 2008) (recognizing
 that these types of discretion are different and finding that the plaintiff was required to show that
 the defendant city had the latter type of discretion). However, we find no compelling reason to
 further address these issues in the context of this litigation.
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 decision at this time, those claims are DISMISSED WITHOUT PREJUDICE.14 A final

 judgment shall enter accordingly.

        IT IS SO ORDERED.



               03/28/2013
 Date: ___________________________
                                                                _______________________________
                                                                 SARAH EVANS BARKER, JUDGE
                                                                 United States District Court
                                                                 Southern District of Indiana




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   It follows that because these claims are unripe for full adjudication, the City’s cross-motion for
 summary judgment is DENIED AS MOOT without prejudice to its refilling, if and when
 appropriate.
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